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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

UNITED STATES OF AMERICA

                    - v. -

WILLIAM KNOX,                                                     15-CR-445 (PAE)

                                        Defendant.                  ORDER

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                    It is hereby ORDERED that, this Court having directed that William Knox be

released forthwith from the custody of the Bureau of Prisons pursuant to Title 18, United States

Code, Section 3582(c)(1)(A):

                    1.        William Knox shall serve a term of home incarceration, to be enforced by

GPS monitoring, at 1264 Sheridan Ave, Apartment 2J, Bronx, NY 10456, until October 28, 2020

(the “Approved Residence”);

                    2.        In light of the COVID-19 pandemic, William Knox must remain at his

Approved Residence except to seek any necessary medical treatment or to visit with counsel, in

each instance with prior notice and approval by the Probation Department;

                    3.        William Knox is to possess or have access to a telephone that will allow

video conferencing by the Probation Department; and
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               4.       William Knox is to report to the Probation Department at 500 Pearl Street,

6th floor, on April 29, 2020 at 10AM (following 14 days of self-quarantine) to have the GPS tracker

affixed to his ankle.

Dated:         New York, New York
               April 14
                     __, 2020



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                                              __________________________________
                                              HONORABLE PAUL A. ENGELMAYER
                                              UNITED STATES DISTRICT JUDGE
                                              SOUTHERN DISTRICT OF NEW YORK




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